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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. 1:10-cr-94
v.
                                                     HONORABLE PAUL L. MALONEY
ANTHONY JERMAINE WILSON,

                  Defendant.
_________________________________/

               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by United States

Magistrate Judge Hugh W. Brenneman, Jr. in this action (ECF No. 160). The Report and

Recommendation was duly served on the parties, and no objection has been made thereto within

the time required by law.

       THEREFORE, IT IS ORDERED that:

       1.      The Report and Recommendation of the Magistrate Judge is approved and

adopted as the opinion of the Court.

       2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

charges set forth in Count Two of the First Superseding Indictment.

       3.      The written plea agreement is hereby continued under advisement pending

sentencing.


Date: November 13, 2014                               /s/ Paul L. Maloney
                                                     Paul L. Maloney
                                                     Chief United States District Judge
